               Case 2:24-bk-18834-BR                   Doc 1 Filed 10/28/24 Entered 10/28/24 16:54:32                                    Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Starship Logistics LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  2711 E DOMINGUEZ ST                                           2050 Main Street, Suite 130
                                  Long Beach, CA 90810                                          Irvine, CA 92614
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                   Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.rpgstarship.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    Starship Logistics LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               4885

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                               When                                 Case number
                                                District                               When                                 Case number

10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an             Yes.
    affiliate of the debtor?




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Debtor    Starship Logistics LLC                                                                        Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                    livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Starship Logistics LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 28, 2024
                                                  MM / DD / YYYY


                             X                                                                            CLARENCE XU
                                 Signature of authorized representative of debtor                         Printed name

                                         Chief Executive Officer and Managing
                                 Title   Director




18. Signature of attorney    X /s/ Susan K. Seflin                                                         Date October 28, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Susan K. Seflin 213865
                                 Printed name

                                 BG LAW LLP
                                 Firm name

                                 21650 Oxnard Street, Suite 500
                                 Woodland Hills, CA 91367
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (818) 827-9000                Email address      sseflin@bg.law

                                 213865 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Fill in this information to identify the case:
Debtor name Starship Logistics LLC
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                             Check if this is an
                                               CALIFORNIA
Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
2050 Main Street                                                                                                                                                $29,202.20
Holdings, LLC             amanrique@greenla
2050 Main St, Ste         wpartners.com
220                       (949) 407-7344
Irvine, CA 92614
American Power                                                                                                                                                  $21,754.60
Security Service Inc      security.americanpo
1451 Rimpau Ave           wersecurity@gmail.c
Corona, CA 92879          om
                          (866) 974-9994
BMO Harris Bank,                                                                                                                                              $299,288.10
N.A.
PO Box 7167               (800)841-4433
Pasadena, CA 91109
BofA CreditCard 1                                                                                                                                               $43,547.76
888 W 7th St, STE
100                       (213) 614-0961
Los Angeles, CA
90017
BofA CreditCard 2                                                                                                                                               $32,460.46
888 W 7th St, STE
100                       (213) 614-0961
Los Angeles, CA
90017
Cal-Lift, Inc.                                                                                                                                                  $18,699.62
2026 W Valley Blvd        lmata@cal-lift.com
Colton, CA 92324           (800) 322-5438
EastGroup Properties                                                          Disputed                                                                        $693,841.92
Inc.                      accounting@eastgro
400 W Parkway Place       up.net
Suite 100                 (601) 354-3555
Ridgeland, MS 39157




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Starship Logistics LLC                                                                   Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Etekcity Corporation                                OCSC Case No.     Disputed                                                                                $110,000.00
c/o Yukevich                                        30-2022-01260915-
Cavanaugh              213-362-7777                 CU-BC-CJC
355 S. Grand Ave.,
15th Fl
Los Angeles, CA
90071
Forklift Nation, Inc.                                                                                                                                           $15,976.77
8324 Allport Ave       INFO@FORKLIFTN
Santa Fe Springs, CA ATION.COM
90670                  (888) 329-5438
Forward Financing                                   Loan                                                                                                        $41,919.66
LLC
53 State Street, 20th
Floor
Boston, MA 02109
Hawthorne Demolition                                                                                                                                            $98,000.00
Inc
DBA California         (310) 978-9624
Demolition
11826 Prairie Ave.
Hawthorne, CA 90250
International Forklift                                                                                                                                          $23,036.48
Co.                    IFC-LAW@IFCFOR
12358 McCann Dr        KLIFT.COM
Santa Fe Springs, CA (562) 903-0940
90670
Interpool Inc.,dba                                                                                                                                              $35,455.70
Trac Intermodal        tgorrie@tracintermo
750 College Rd E       dal.com
Princeton, NJ 08540 (877) 987-2226
MDRN Staffing                                                                 Disputed                                                                        $160,084.62
14311 Valley View      MDRN@mdrnstaffin
Ave Suite 101A         g.com
Santa Fe Springs, CA (619)310-9927
90670
Norm Wilson & Sons,                                                                                                                                               $8,837.00
Inc.
3400 E. Spring St      (562) 634-7933
Long Beach, CA
90806
Perris Fence &                                                                                                                                                  $15,826.02
Supply, Inc.           agfencesupply@aol.
dba A&G Sales          com
11926 Woodruff Ave (562) 803-1888
Downey, CA 90241
Pierpoint Trans Line,                                                                                                                                           $55,535.00
Inc.                   (310) 549-0100
23000 S Avalon Blvd.
Carson, CA 90745




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Debtor     Starship Logistics LLC                                                                   Case number (if known)
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Price Transfer, Inc.                                                                                                                                            $47,765.85
2790 E Del Amo Blvd       rosieosorio@pricetra
#893                      nsfer.com
Compton, CA 90221         (800) 397-7423
The ADT Security                                                                                                                                                $40,547.67
Corporation               letigracrayton@ever
21171 S Western Ave       onsolutions.com
Torrance, CA 90501        (310) 803-9613
Watson Land                                                                   Disputed                                                                      $1,786,572.62
Company                   jcornell@watsonland
22010 S Wilmington        company.com
Ave                       (310) 952-6400
Carson, CA 90745




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                                     Starship Logistics, LLC

 RESOLUTION TO FILE PETITION UNDER CHAPTER 11 OF THE BANKRUPTCY
                              CODE

WHEREAS, Starship Logistics, LLC (“Company”) is insolvent and unable to pay its debts as
they mature, and it would be in the best interests of the Company and its creditors to reorganize
under the Bankruptcy Code, it is hereby

RESOLVED, that a petition under the provisions of chapter 11 of the Bankruptcy Code (the
“Bankruptcy Petition”) shall be filed by the Company with the United States Bankruptcy Court,
Central District of California (the “Bankruptcy Court”), on October 28, 2024, or such other date
as is determined to be optimal;

RESOLVED FURTHER, that Clarence Xu, the current Chief Executive Officer of the Company
and Managing Director, shall be the Designated Officer for all matters unless Clarence Xu
designates a different officer of the Company for any particular purpose or purposes;

RESOLVED FURTHER, that the Designated Officer is hereby authorized, on behalf of and in
the name of the Company, to execute the Bankruptcy Petition and all related documents and
papers on behalf of the Company in order to enable the Company to commence a chapter 11
bankruptcy case on October 28, 2024, or such other date as is determined to be optimal by the
Designated Officer;

RESOLVED FURTHER, that the Designated Officer is hereby authorized and directed on behalf
of and in the name of the Company to execute and file and to cause counsel for the Company to
prepare with the assistance of the Company as appropriate all petitions, schedules, lists and other
papers, documents and pleadings in connection with the Company’s bankruptcy case, and to take
any and all action which the Designated Officer deems necessary and proper in connection with
the Company’s bankruptcy case without further approval of the Board provided such action is
within the ordinary course of the Company’s business and bankruptcy case. Such ordinary
course actions shall include, but not be limited to, employing counsel and other professionals
(both prior to and after the Company’s bankruptcy filing), seeking Bankruptcy Court approval of
a plan or other necessary motions, commencing litigation as necessary and negotiating with
creditors, landlords and any other party in interest as needed, employing counsel and other
professionals, seeking Bankruptcy Court approval of a plan, disclosure statement or any other
relief that may be appropriate.


Starship Logistics LLC


________________________________
Clarence Xu, Chief Executive Officer
And Managing Director
          Case 2:24-bk-18834-BR                       Doc 1 Filed 10/28/24 Entered 10/28/24 16:54:32                                                   Desc
                                                      Main Document    Page 9 of 17
Attorney or Party Name, Address, Telephone & FAX Nos., FOR COURT USE ONLY
State Bar No. & Email Address
Susan K. Seflin 213865
21650 Oxnard Street, Suite 500
Woodland Hills, CA 91367
(818) 827-9000 Fax: (818) 827-9099
California State Bar Number: 213865 CA
sseflin@bg.law




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                                    UNITED STATES BANKRUPTCY COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                   CASE NO.:
            Starship Logistics LLC
                                                                                   CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                    [LBR 1007-1(a)]

                                                               Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 8 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: October 28, 2024
                                                                                          Signature of Debtor 1

Date:
                                                                                          Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: October 28, 2024
                                                                                          Signature of Attorney for Debtor (if applicable)




                   This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
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}




                       Starship Logistics LLC
                       2050 Main Street, Suite 130
                       Irvine, CA 92614


                       Susan K Seflin
                       BG LAW LLP
                       21650 Oxnard Street, Suite 500
                       Woodland Hills, CA 91367


                       U S Trustee Los Angeles Division
                       915 Wilshire Blvd , Suite 1850
                       Los Angeles, CA 90017
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                   2050 Main Street Holdings, LLC
                   2050 Main St, Ste 220
                   Irvine, CA 92614


                   Alhambra Primo Water
                   200 Eagles Landing Boulevard
                   Lakeland, FL 33810


                   American Power Security Service Inc
                   1451 Rimpau Ave
                   Corona, CA 92879


                   Andrew J Haley, Esq
                   Shoreline Law Corporation
                   233 Wilshire Boulevard, Suite 280
                   Santa Monica, CA 90401


                   Approved Backflow
                   Attn: Jerry Montano
                   12345 Mountain Ave
                   Chino, CA 91710


                   Artemis Brokerage LLC
                   c/o Rick Ma
                   1120 Huntingon Drive
                   San Marino, CA 91108


                   BMO Harris Bank, N A
                   PO Box 7167
                   Pasadena, CA 91109


                   BofA CreditCard 1
                   888 W 7th St, STE 100
                   Los Angeles, CA 90017
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                   BofA CreditCard 2
                   888 W 7th St, STE 100
                   Los Angeles, CA 90017


                   Buckner Robinson Mirkovich
                   3146 Red Hill Ave #200
                   Costa Mesa, CA 92626


                   Cal Lift, Inc
                   2026 W Valley Blvd
                   Colton, CA 92324


                   California Fire Protection Backfl
                   647 Camino De Los Mares, Suite 108
                   San Clemente, CA 92673


                   Cargo Cove Capital LLC
                   2050 Main Street, Suite 130
                   Irvine, CA 92614


                   Coastal Door Dock Equipment
                   10030 Artesia Blvd
                   Bellflower, CA 90707


                   EastGroup Properties Inc
                   400 W Parkway Place Suite 100
                   Ridgeland, MS 39157


                   Etekcity Corporation
                   c/o Yukevich Cavanaugh
                   355 S Grand Ave , 15th Fl
                   Los Angeles, CA 90071
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                   Forklift Nation, Inc
                   8324 Allport Ave
                   Santa Fe Springs, CA 90670


                   Forward Financing LLC
                   53 State Street, 20th Floor
                   Boston, MA 02109


                   Frank Gooch III
                   401 Wilshire Blvd, Ste 850
                   Santa Monica, CA 90401


                   Franks Lock and Key
                   Leo O Ringer
                   1417 Marcelina Ave,
                   Torrance, CA 90501-3210


                   Frontier
                   15658 Pomona Rincon Rd
                   Chino Hills, CA 91709


                   Hawthorne Demolition Inc
                   DBA California Demolition
                   11826 Prairie Ave
                   Hawthorne, CA 90250


                   International Forklift Co
                   12358 McCann Dr
                   Santa Fe Springs, CA 90670


                   Interpool Inc ,dba Trac Intermodal
                   750 College Rd E
                   Princeton, NJ 08540
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                   ITC Diligence, Inc
                   4010 Watson Plaza Dr Suite 138
                   Lakewood, CA 90712


                   Kyle P Kelley, Esq
                   PO Box 955
                   Aledo, TX 76008


                   Long Beach City Locksmiths
                   623 W Pacific Coast Hwy
                   Long Beach, CA 90806


                   Mass Transit Properties, LLC
                   c/o McGarrigle, Kenney Zampiello
                   9600 Topanga Canyon Blvd, Suite 200
                   Chatsworth, CA 91311


                   MDRN Staffing
                   14311 Valley View Ave Suite 101A
                   Santa Fe Springs, CA 90670


                   Nick's Electrical Contractors Inc
                   11223 Yucca Dr, Riverside
                   Riverside, CA 92505


                   Norm Wilson Sons, Inc
                   3400 E Spring St
                   Long Beach, CA 90806


                   Perris Fence Supply, Inc
                   dba A G Sales
                   11926 Woodruff Ave
                   Downey, CA 90241
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                   Pierpoint Trans Line, Inc
                   23000 S Avalon Blvd
                   Carson, CA 90745


                   Premier Fire Consulting LLC
                   4050 Katella Ave
                   Los Alamitos, CA 90720


                   Price Transfer, Inc
                   2790 E Del Amo Blvd #893
                   Compton, CA 90221


                   Security of Los Angeles
                   7916 Ajay Drive
                   Sun Valley, CA 91352


                   Select Equipment Sales, Inc
                   6911 8th St
                   Buena Park, CA 90620


                   Southwest Material Handling, Inc
                   PO Box 1070
                   Mira Loma, CA 91752


                   Spectrum Enterprise
                   2935 Redondo Ave
                   Long Beach, CA 90806


                   Startranz
                   2751 E Dominguez St
                   Long Beach, CA 90810
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                   Suburban Propane
                   PO Box 12027
                   Fresno, CA 93776


                   The ADT Security Corporation
                   21171 S Western Ave
                   Torrance, CA 90501


                   The Better Water Company
                   7331 Edinger Avenue
                   Huntington Beach, CA 92647


                   The Flying Locksmiths of San Jose
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                   San Jose, CA 95135


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                   Lake Forest, CA 92630


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                   Pleasant Prairie, WI 53158


                   Vine Clouds Technologies
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                   Watson Land Company
                   22010 S Wilmington Ave
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